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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
PROFESSIONAL PROJECT
SERVICES, INC.,

Plaintiff,

LEIDOS INTEGRATED TECHNOLOGY,
LLC, ET AL.

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Vv. ) Civil Action No. 1:20-cv-1360
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Defendants. )

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THIS MATTER comes before the Court on Defendants’ Motion to
Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) and
Plaintiff’s Motion for Leave to File a Surreply. It appears to
the Court that Plaintiff’s Complaint states a claim upon which
recovery may be had, it is hereby

ORDERED that Defendants’ Motion to Dismiss is DENIED. It is
also

ORDERED that Plaintiff’s Motion for Leave to File a

Surreply is DENIED as moot.

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CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE
Alexandria, Virginia
January (7, 2021
